Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.192 Page 1 of 83




    1   PANAKOS LAW, APC
        Aaron D. Sadock (SBN 282131)
    2   555 West Beech Street, Suite 500
        San Diego, California 92101
    3   Telephone: (619) 800-0529
        Facsimile: (866) 365-4856
    4
        Attorneys for Defendants Girlsdoporn.com,
    5   Michael J. Pratt, Andre Garcia, Matthew
        Wolfe, BLL Media, Inc., BLL Media Holdings,
    6   LLC, EG Publications, Inc., M1M Media, LLC,
        Merro Media, Inc., and Merro Media Holdings,
    7   LLC
    8

    9                       UNITED STATES DISTRICT COURT
   10                    SOUTHERN DISTRICT OF CALIFORNIA
   11   JANE DOE NOS. 1-14, inclusive,          Case No. 19cv0160-WQH-BLM
        individuals;
   12
                    Plaintiffs,                 DECLARATION OF AARON D.
   13                                           SADOCK IN SUPPORT OF
        v.                                      DEFENDANTS’ JOINT MOTION
   14                                           FOR DISCOVERY SANCTIONS
        GIRLSDOPORN.COM, a business
   15   organization, form unknown;             Date:         TBD
        MICHAEL J. PRATT, an individual;        Time:         TBD
   16   ANDRE GARCIA, an individual;            Judge:        Hon. Barbara L. Major
        MATTHEW WOLFE, an individual;
   17   BLL MEDIA, INC., a California
        corporation; BLL MEDIA                  Filed: January 24, 2019
   18   HOLDINGS, LLC, a Nevada limited
        liability company; DOMI                           [IMAGED FILE]
   19   PUBLICATIONS, LLC, a Nevada
        limited liability company; EG
   20   PUBLICATIONS, INC., a California
        corporation; MlM MEDIA, LLC, a
   21   California limited liability company;
        BUBBLEGUM FILMS, INC., a
   22   business organization, form unknown;
        OH WELL MEDIA LIMITED, a
   23   business organization, form unknown;
        MERRO MEDIA, INC., a California
   24   corporation; MERRO MEDIA
        HOLDINGS, LLC, a Nevada limited
   25   liability company; and ROES 1 - 500,
        inclusive,
   26
                       Defendants.
   27

   28                                 -1-
             DECLARATION OF AARON D. SADOCK ISO DEFENDANTS’ JOINT
                      MOTION FOR DISCOVERY SANCTIONS
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    1   I, Aaron D. Sadock, declare:
    2      1. I am an attorney at law duly authorized to practice in the State of California.
    3   My law firm, Panakos Law, A.P.C., are attorneys of record for Michael J. Pratt,
    4   Andre Garcia, Matthew Wolfe, BLL Media, Inc., BLL Media Holdings, Inc., EG
    5   Publications, Inc. M1M Media, LLC, Bubblegum Films, Inc. Merro Media, Inc.,
    6   Merro Media Holdings, LLC, both collectively and individually (hereinafter
    7   "Defendants"). I am familiar with the files, pleadings and facts of this case. I have
    8   personal knowledge of the facts stated in this declaration and, if called as a
    9   witness, could testify competently about them.
   10      2. Primary defendant Michael Pratt filed Chapter 13 bankruptcy on January 23,
   11   2019. A true and correct copy of the Notice of Chapter 13 Bankruptcy Case is
   12   attached as Exhibit A.
   13      3. Mr. Pratt’s bankruptcy counsel, Ahren Tiller, served all counsel of record in
   14   San Diego County Superior Court Case No. 37-2016-00019027-CU-FR-CTL,
   15   which is consolidated with Case Nos. 37-2017-00043712- CU-FR-CTL and 37-
   16   2017-00033321- CU-FR-CTL (collectively, “State Court Action”), with Notice of
   17   Bankruptcy Filing via email that same day. A true and correct copy of Mr. Tiller’s
   18   email and attachment providing notice of the bankruptcy filing is attached as
   19   Exhibit B.
   20      4. My co-counsel in the State Court Action, The Law Offices of Daniel A.
   21   Kaplan, filed a Notice of Stay of Proceedings in the State Court Action and served
   22   Plaintiffs with the filing via One Legal electronic service that day as well. A true
   23   and correct copy of the Notice of Stay of Proceedings with proof of service is
   24   attached as Exhibit C.
   25      5. I emailed Plaintiffs’ counsel Ed Chapin the afternoon of January 23, 2019, to
   26   inform him that all scheduled depositions were canceled until further notice given
   27   the bankruptcy stay. Mr. Chapin and Plaintiffs’ counsel Brian Holm both
   28                                -2-
            DECLARATION OF AARON D. SADOCK ISO DEFENDANTS’ JOINT
                     MOTION FOR DISCOVERY SANCTIONS
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    1   responded that Plaintiffs will continue to conduct discovery despite the stay. A true
    2   and correct copy of my January 23, 2019 email correspondence with Mr. Chapin
    3   and Mr. Holm is attached as Exhibit D.
    4      6. The following day, January 24, 2019, Mr. Pratt filed a Notice of Removal of
    5   San Diego County Superior Court Case No. 37-2016-00019027-CU-FR-CTL and
    6   the two consolidated cases, Case Nos. 37-2017-00043712-CU-FR-CTL and 37-
    7   2017-00033321-CU-FR-CTL, to the United States District Court, Southern District
    8   of California, pursuant to 28 U.S.C. §§ 1441 and 1452 and Federal Rule of
    9   bankruptcy Procedure rule 9027, in both state and federal court. All defendants
   10   who had appeared in the State Court Actions consented to the removal. A true and
   11   correct copy of the Notice of Removal filed in the State Court Action and served
   12   on Plaintiffs is attached as Exhibits E.
   13      7. I, as well as counsel for all parties, appeared at a previously-scheduled
   14   hearing in the State Court Action shortly after Mr. Pratt filed the Notice of
   15   Removal. At the January 24, 2019 hearing, Judge Joel R. Wohlfeil stayed the State
   16   Court Action due to the removal. A true and correct copy of the Court’s January
   17   24, 2019 Minute Order is attached as Exhibit F.
   18      8. At the hearing, Plaintiffs’ counsel Brian Holm informed the Court that
   19   Plaintiffs intended to continue conducting discovery, including the depositions of
   20   subpoenaed third parties, despite the State Court Action stay, bankruptcy stay, and
   21   removal to federal court. A true and correct copy of relevant portions of the
   22   certified transcript from the January 24, 2019 hearing is attached as Exhibit G.
   23      9. On January 25, 2019, Magistrate Judge Barbara L. Major issued a Notice
   24   and Order for Early Neutral Evaluation Conference and Case Management
   25   Conference. (Dkt. # 5.) Therein, she ordered the parties to conduct a Rule 26(f)
   26   conference on or before February 6, 2019, and to attend an Early Neutral
   27   Evaluation Conference on February 27, 2019.
   28                                -3-
            DECLARATION OF AARON D. SADOCK ISO DEFENDANTS’ JOINT
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    1      10. Later that same day, Plaintiffs served my office with their First Exchange of
    2   Expert Witness Information in the stayed and removed State Court Action.
    3   Plaintiffs also filed and served two reply briefs in the State Court Action in support
    4   of their two discovery motions: Plaintiffs’ Motion to Compel Panakos Law, APC’s
    5   Compliance with Plaintiffs’ Subpoena for Production of Business Records, and
    6   Plaintiffs’ Motion to Compel Glick Law Group, Inc.’s Compliance with Plaintiffs’
    7   Subpoena for Production of Business Records. A true and correct copy of the
    8   proofs of service for Plaintiffs’ discovery pleadings are attached as Exhibit H.
    9   However, ironically, Plaintiffs did not file oppositions to Defendants’ discovery
   10   motions that were due the following business day.
   11      11. Plaintiffs also served my office with a notice of deposition of Michael
   12   Shapiro, CPA, with request for production of documents in the State Court Action,
   13   even though Defendants’ motion to quash the last subpoena to Mr. Shapiro was
   14   still pending, and the case was stayed and removed to federal court. A true and
   15   correct copy of the deposition notice I received on January 25, 2019, is attached as
   16   Exhibit I.
   17      12. I reminded Plaintiffs’ counsel of the automatic bankruptcy stay via email on
   18   January 28, 2019, in part because I had reason to believe that Plaintiffs were
   19   conducting a deposition of a subpoenaed third party in the State Court Action that
   20   day. In response, Mr. Holm reconfirmed his intentions to continue discovery
   21   despite the stay, and suggested that I and my co-counsel work out the stay issue
   22   with our “carrier.” A true and correct copy of my January 28, 2019 email
   23   correspondence with Mr. Holm is attached as Exhibit J.
   24      13. I later confirmed that Mr. Holm did proceed with the deposition of
   25   subpoenaed third-party Audrey Pina on January 28, 2019, in Arizona. Defense
   26   counsel did not attend the deposition in compliance with the stay, the District
   27   Court’s Scheduling Order, and Federal Rules of Civil Procedure. The final certified
   28                                -4-
            DECLARATION OF AARON D. SADOCK ISO DEFENDANTS’ JOINT
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    1   transcript of Ms. Pina’s deposition is not yet available, therefore a true and correct
    2   copy of relevant portions of the rough transcript I received from the court reporter
    3   is attached as Exhibit K. If the Court wishes, I can submit a copy of the certified
    4   transcript next week once it becomes available. Based upon my review of the
    5   rough transcript, Mr. Holm never informed Ms. Pina of the stays or removal that
    6   relieved her of the obligation to testify pursuant to Plaintiffs’ State Court Action
    7   subpoena.
    8      14. Mr. Holm also conducted a deposition of another subpoenaed third party,
    9   Kailyn Wright, on January 29, 2019, also in Arizona. Again, defense counsel did
   10   not attend the deposition in order to comply with the stays, the District Court’s
   11   Scheduling Order, and Federal Rules of Civil Procedure. Plaintiffs named Ms.
   12   Wright as a defendant in this case; but, to my knowledge, have never served her
   13   with a summons or complaint. Based upon my review of the rough transcript of
   14   Ms. Wright’s deposition, Mr. Holm did not inform her that she is a named
   15   defendant at any time during the deposition, or that the case was stayed or removed
   16   to federal court, thereby relieving her of the obligation to testify pursuant to
   17   Plaintiffs’ State Court Action subpoena. A true and correct copy of relevant
   18   portions of the rough transcript of Ms. Wright’s deposition is attached as Exhibit
   19   L. If the Court wishes, I can submit a copy of the certified transcript next week
   20   once it becomes available.
   21      15. George Rikos, counsel for co-defendant Domi Publications, LLC,
   22   corresponded with Plaintiffs’ counsel Ed Chapin via email regarding Plaintiffs’
   23   repeated violations of the stays, scheduling order, and Federal Rules of Civil
   24   Procedure. Mr. Chapin insisted that no violations were taking place, and advised
   25   Mr. Rikos and other defense counsel to worry about preparation of their defense
   26   rather than what Plaintiffs are doing. The Declaration of George Rikos also filed in
   27   support support of this Motion for Sanctions contains these emails as exhibits.
   28                                -5-
            DECLARATION OF AARON D. SADOCK ISO DEFENDANTS’ JOINT
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    1      16. Plaintiffs also subpoenaed two other third-party witnesses (Morgan Fille
    2   and Taylor Rodgers) for depositions that were to take place on February 1 and
    3   February 2, 2019, in Florida and North Carolina. Per Mr. Holm’s representations at
    4   the January 24, 2019 hearing, and learning that the other third-party depositions
    5   went forward earlier that week without defense counsel, I believed that Mr. Holm
    6   would conduct these depositions as well. However, at the Rule 26(f) conference
    7   Plaintiffs’ counsel informed me for the first time that the depositions were
    8   canceled.
    9      17. On February 5, 2019, I was advised by defendant Michael Pratt that he
   10   received emails from GoDaddy, Inc. and Domains by Proxy, LLC indicating that
   11   they had been served with subpoenas for business records issued by Plaintiffs’
   12   counsel Brian Holm seeking information relating to Mr. Pratt and/or his companies
   13   and/or his websites. Neither my office nor my co-counsel’s office has any record
   14   of being served with these subpoenas. Plaintiffs’ counsel ignored the substance of
   15   Mr. Rikos’ email meet and confer attempts with Plaintiffs’ counsel regarding these
   16   business record subpoenas.
   17      18. According to the subpoenaed witnesses, the deadline to object was February
   18   6, 2019. Thus, Defendants were forced to prepare and serve letters of objection to
   19   the production of the subpoenas on GoDaddy, Inc. and Domains by Proxy, LLC
   20   informing them of the stay and removal. At the Rule 26(f) conference the
   21   following day, Plaintiffs’ counsel finally confirmed that they failed to serve
   22   Defendants with the two subpoenas; however, they were unsure as to whether the
   23   subpoenaed witnesses had been informed of the service failure, the stays, or the
   24   removal. Despite repeated requests, Plaintiffs have still not provided Defendants
   25   with copies of these subpoenas.
   26      19. Defendants also had to inform two other third parties whom Plaintiffs
   27   served with business record subpoenas (Epoch.com, LLC and CCBill, LLC) of the
   28                                -6-
            DECLARATION OF AARON D. SADOCK ISO DEFENDANTS’ JOINT
                     MOTION FOR DISCOVERY SANCTIONS
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    1   stays and removal relieving them of the obligation to produce the subpoenaed
    2   records.
    3      20. My clients, including Mr. Pratt, have incurred at least $1,500 in attorney’s
    4   fees related to Plaintiffs’ refusal to abide by the January 25, 2019 Scheduling
    5   Order and the Federal Rules of Civil Procedure. The approximately five hours at
    6   $300 per hour spent on this issue include (1) correspondence with Plaintiffs’
    7   counsel, (2) researching legal issues pertaining to the stay, removal, and Plaintiffs’
    8   actions, (3) preparing and sending correspondence to four third parties Plaintiffs
    9   subpoenaed to inform them of the stays and removal, (4) performing investigation
   10   to determine what discovery Plaintiffs were conducting in violation of the stay,
   11   removal, and federal rules, and (5) assisting Mr. Rikos with preparation of this
   12   motion, including preparation of this declaration and exhibits. Additionally, my
   13   clients will incur approximately $1,000 in costs for the deposition transcripts,
   14   including rough drafts, for Audrey Pina and Kailyn Wright. Defendants can submit
   15   invoices for these transcripts upon receipt. Defendants seek reimbursement of these
   16   attorney’s fees and deposition transcript costs for a total of $2,500.
   17

   18      I declare under penalty of perjury under the laws of the State of California that
   19   the information contained in this declaration is true and correct to the best of my
   20   knowledge.
   21      Executed this 8th day of February, 2019 at San Diego, California.
   22

   23
                                                             /s/ Aaron D. Sadock
                                                             Aaron D. Sadock, Esq.
   24

   25

   26

   27

   28                                -7-
            DECLARATION OF AARON D. SADOCK ISO DEFENDANTS’ JOINT
                     MOTION FOR DISCOVERY SANCTIONS
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                               EXHIBIT A
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.200 Page 9 of 83




                                   Exhibit A
                                  Page 1 of 4
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.201 Page 10 of 83




                                   Exhibit A
                                  Page 2 of 4
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                                   Exhibit A
                                  Page 3 of 4
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                                   Exhibit A
                                  Page 4 of 4
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                               EXHIBIT B
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.205 Page 14 of 83


    From:                  Ahren Tiller
    To:                    cyandel@sanfordheisler.com; Ed Chapin; brian@holmlawgroup.com; John O’Brien; Fernando Salazar; Cara Van
                           Dorn; carrie@cagoldberglaw.com; ClydeDeWitt@earthlink.net; rowlett@pvflaw.com; feasby@pvflaw.com; Aaron
                           Sadock; Daniel Kaplan; ali@danielkaplanlaw.com; Bonnie McKnight; george@georgerikoslaw.com
    Cc:                    Derek Soinski; Brett Bodie
    Subject:               NOTICE OF BANKRUPTCY FILING - In Re Michael J. Pratt - CASD BK Case No.: 19-00271-LT13
    Date:                  Wednesday, January 23, 2019 12:58:09 PM
    Attachments:           Notice of Bankruptcy Filing.pdf


   All:

   Please see the attached Notice of Bankruptcy filing for the above referenced case: In Re
   Michael Pratt, which was filed in the Southern District of California Bankruptcy Court, with
   Case No. 19-00271-LT13.

   Mr. Pratt has sought relief under the Bankruptcy Code. As you may be aware, 11 U.S.C
   362(a)(1), states in pertinent part, "...a petition filed under section 301, 302, or 303 of this
   title...operates as a stay, applicable to all entities, of—(1) the commencement or
   continuation, including the issuance or employment of process, of a judicial, administrative,
   or other action or proceeding against the debtor that was or could have been commenced
   before the commencement of the case under this title, or to recover a claim against the
   debtor that arose before the commencement of the case under this title;..."

   Your respective offices are being mailed notice of the filing by the Bankruptcy Court's
   Noticing Center. However, the purpose of this email is to ensure your firms had actual notice
   of the pending bankruptcy case, and to advise your respective firms that 11 USC 362 prohibits
   your clients from proceeding forward with the currently pending lawsuits entitled Does 1-22
   vs. Michael. J. Pratt, et. al..

   Please feel free to call or email me if you have any questions or concerns regarding the
   above.

   Sincerely,

   Ahren A. Tiller, Esq.
   Supervising Attorney
   Bankruptcy Law Specialist
   CA State Bar Board of Legal Specialization  
   Business Bankruptcy Law Specialist, &
   Consumer Bankruptcy Law Specialist
   American Board of Certification
   Real Estate Broker - CA BRE # 01920711

   BLC Law Center, APC
   1230 Columbia St. Suite 1100
   San Diego, CA 92101
   Ph: 619-894-8831
   Fax: 866-444-7026
   www.blc-sd.com


            San Diego - Vista - Orange County - Los Angeles - Encino - Ventura


                                                            Exhibit B
                                                           Page 1 of 3
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California Southern Bankruptcy Court ( LIVE )                         Page 1 of 2
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                                     United States Bankruptcy Court
                                     Southern District of California



Notice of Bankruptcy Case Filing


A bankruptcy case concerning the debtor(s) listed
below was filed under Chapter 13 of the United States
Bankruptcy Code, entered on 01/23/2019 at 12:41 PM
and filed on 01/23/2019.

Michael J. Pratt
10375 Cervaza Baja Drive
Escondido, CA 92026
SSN / ITIN: xxx-xx-4355
aka Mike Pratt
aka Michael James Pratt


 The case was filed by the debtor's attorney:     The bankruptcy trustee is:

 Ahren A. Tiller                                  Thomas H. Billingslea
 Bankruptcy Law Center                            401 West A Street, Suite 1680
 1230 Columbia St., Ste. 1100
 San Diego, CA 92101                              San Diego, CA 92101
 (619) 894-8831                                   (619) 233-7525
The case was assigned case number 19-00271-LT13 to Judge Laura S. Taylor.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other
actions against the debtor and the debtor's property. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay.
If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are
available at our Internet home page http://www.casb.uscourts.gov or at the Clerk's Office, Jacob
Weinberger U.S. Courthouse, 325 West F Street, San Diego, CA 92101-6991.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
forth important deadlines.


                                                                       Barry K. Lander
                                                                       Clerk, U.S. Bankruptcy
                                                                       Court



                                                 Exhibit B
                                                Page 3 of 3
https://ecf.casb.uscourts.gov/cgi-bin/NoticeOfFiling.pl?433435                                    1/23/2019
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                               EXHIBIT C
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.209 Page 18 of 83
California Southern Bankruptcy Court ( LIVE )                         Page 1 of 2
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.210 Page 19 of 83


                                     United States Bankruptcy Court
                                     Southern District of California



Notice of Bankruptcy Case Filing


A bankruptcy case concerning the debtor(s) listed
below was filed under Chapter 13 of the United States
Bankruptcy Code, entered on 01/23/2019 at 12:41 PM
and filed on 01/23/2019.

Michael J. Pratt
10375 Cervaza Baja Drive
Escondido, CA 92026
SSN / ITIN: xxx-xx-4355
aka Mike Pratt
aka Michael James Pratt


 The case was filed by the debtor's attorney:     The bankruptcy trustee is:

 Ahren A. Tiller                                  Thomas H. Billingslea
 Bankruptcy Law Center                            401 West A Street, Suite 1680
 1230 Columbia St., Ste. 1100
 San Diego, CA 92101                              San Diego, CA 92101
 (619) 894-8831                                   (619) 233-7525
The case was assigned case number 19-00271-LT13 to Judge Laura S. Taylor.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other
actions against the debtor and the debtor's property. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay.
If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are
available at our Internet home page http://www.casb.uscourts.gov or at the Clerk's Office, Jacob
Weinberger U.S. Courthouse, 325 West F Street, San Diego, CA 92101-6991.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
forth important deadlines.


                                                                       Barry K. Lander
                                                                       Clerk, U.S. Bankruptcy
                                                                       Court


                                                                                            Exhibit C
                                                                                           Page 2 of 4
https://ecf.casb.uscourts.gov/cgi-bin/NoticeOfFiling.pl?433435                                    1/23/2019
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     1
                                              PROOF OF SERVICE
     2
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
     3                        COUNTY OF SAN DIEGO – CENTRAL DIVISION
     4   Jane DOES Nos. 1-14 v. GIRLSDOPORN.COM, et al.
          San Diego Superior Court Case No 37-2016-00019027-CU-FR-CTL
     5
         Consolidated with Case Nos.:
     6   37-2017-00033321-CU-FR-CTL and 37-2017-00043712-CU-FR-CTL
     7
         I, Julianne E. Roth, declare as follows:
     8
                I am employed by a member of the bar of the State of California. I am over the age of 18
     9   and not a party to the within action; my business address is 555 West Beech Street, Suite 230,
         San Diego, California 92101.
    10
                On, January 23, 2019, I served true and correct copies of the foregoing document(s)
    11   described as:

    12          NOTICE OF STAY OF PROCEEDINGS WITH NOTICE OF BANKRUPTCY
                CASE FILING ATTACHMENT
    13
         on interested parties in this action by placing    the original    true copy(ies) thereof enclosed
    14   as follows:

    15    John J. O’Brien, Esq.                            Attorney for Plaintiffs
          THE O’OBRIEN LAW FIRM, APLC
    16    750 B. Street, Suite 3300
          San Diego, CA 92101
    17
          john@theobrienlawfirm.com
    18
          Brian M. Holm, Esq.                              Attorney for Plaintiffs
    19    HOLM LAW GROUP, PC
          12636 High Bluff Drive, Suite 400
    20    San Diego, CA 92130
          brian@holmlawgroup.com
    21
          Carrie Goldberg                                  Attorney for Plaintiffs
    22    C.A. GOLDBERG, PLLC
          16 Court Street, Suite 2500
    23    Brooklyn, NY 11241
    24    carrie@cagoldberglaw.com

    25    George D. Rikos, Esq.                            Attorney for Defendant DOMI
          Law Offices of George Rikos                      Publications, LLC
    26    225 Broadway, Ste. 2100
          San Diego, CA 92101
    27    george@georgerikoslaw.com

    28
                                                        -1-                              Exhibit C
                                                  Proof of Service                      Page 3 of 4
                                             37-2016-19027-CU-FR-CTL
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     1    Ed Chapin, Esq.                                  Attorneys for Plaintiffs
          echapin@sanfordheisler.com
     2    Cara Van Dorn, Esq.
          cvandorn@sanfordheisler.com
     3    Sanford, Heisler Sharp, LLP
          655 West Broadway, Suite 1700
     4    San Diego, CA 92101
     5
            BY U.S. MAIL (C.C.P. § 1013(a)) I am readily familiar with the firm’s practice of collection and
     6   processing correspondence for mailing with the United States Postal Service. Under that
         practice, it would be deposited with United States postal service on that same day with postage
     7   thereon fully prepaid at San Diego, California in the ordinary course of business. The envelope
         was sealed and placed for collection and mailing on that date following ordinary business
     8   practices. I am aware that on motion of the party served, service is presumed invalid if postal
         cancellation date or posted meter date is more than one day after date of deposit for mailing in
     9   affidavit.
    10
            BY ELECTRONIC TRANSMISSION-ONE LEGAL (C.C. P. § 1010.6(6)) Based on a court order or an
    11   agreement of the parties to accept service by email or electronic transmission, I caused the
         documents to be sent to the persons at the e-mail address(es) listed. I did not receive, within a
    12   reasonable time after the transmission, any electronic message or other indication that the
         transmission was unsuccessful.
    13
             BY OVERNIGHT DELIVERY (C.C. P. § 1013(c)) I am readily familiar with the firm’s practice of
    14   collection and processing correspondence for mailing with Overnite Express and Federal
         Express. Under that practice, it would be deposited with Overnite Express and/or Federal
    15   Express on that same day thereon fully prepaid at San Diego California in the ordinary course of
         business. The envelope was sealed and placed for collection and mailing on that date following
         ordinary business practices.
    16
            BY FACSIMILE (C.C. P. § 1013(e)) Based on agreement of the parties to accept service by fax
    17   transmission, I faxed the documents on this date to the person(s) at the fax numbers listed. No
         error was reported by the fax machine that I used. A copy of the record of the fax transmission,
    18   which I printed out, is attached.
    19      BY PERSONAL SERVICE (C.C. P. § 1011(a)) I served the documents by placing them in an
         envelope or package addressed to the person(s) at the addresses listed and providing them to a
    20   professional messenger service for service on this date.
    21
            (STATE) I declare under penalty of perjury under the laws of the State of California that the
    22   above is true and correct.

    23       (FEDERAL) I declare that I am employed in the office of a member of the bar of this court
         at whose direction the service was made.
    24
         Executed on January 23, 2019, in San Diego, California.
    25

    26
                                                        /s/ Julianne E. Roth
    27                                                  Julianne E. Roth

    28
                                                        -2-                                Exhibit C
                                                  Proof of Service                        Page 4 of 4
                                             37-2016-19027-CU-FR-CTL
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.213 Page 22 of 83




                               EXHIBIT D
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.214 Page 23 of 83


    From:            Brian Holm
    To:              Ed Chapin
    Cc:              Aaron Sadock; Daniel A. Kaplan; George Rikos; John O’Brien; Cara Van Dorn; Christopher Yandel; Fernando
                     Salazar; Bonnie McKnight; Ali Byler; Anna King; Julianne Roth
    Subject:         Re: Tentative Rulings
    Date:            Wednesday, January 23, 2019 10:29:43 PM
    Attachments:     19-0117 2nd Amend Depo Notice & RFP - JD 21.pdf
                     19-0109 2nd Amended Depo Notice & RFP - JD 18 & POS.pdf
                     19-0108 Amended Notice of Depo & RFP JD3 Vol II & POS.pdf
                     19-0108 Amend Depo Notice & RFP JD20 & POS.pdf


   Counsel,

   Defendants fail to cite any authority for the proposition that Pratt’s personal bankruptcy stays
   Plaintiffs’ case against the other defendants. The failure to cite to authority is likely due to the fact
   that the law says the opposite. Bankruptcy of one defendant in a multidefendant case does not
   stay the case as to the remaining defendants. See, In re Miller (9th Cir. BAP 2001) 262 BR 499,
   503-504 & fn. 6; Fortier v. Dona Anna Plaza Partners (10th Cir. 1984) 747 F2d 1324, 1329-
   1330; Queenie, Ltd. v. Nygard Int'l (2nd Cir. 2003) 321 F3d 282, 287. To obtain stay protection
   for a nondebtor, the debtor/trustee must file an adversary proceeding for a preliminary injunction
   (11 USC § 105) barring creditors from taking action against the nondebtor. See, In re Excel
   Innovations, Inc. (9th Cir. 2007) 502 F3d 1086, 1094-1095; In re American Hardwoods, Inc. (9th
   Cir. 1989) 885 F2d 621, 624-626; In re Family Health Services, Inc. (BC CD CA 1989) 105 BR
   937.

   "Section 362(a)(1) applies only to actions against a debtor. Here, in the action in which the
   subpoenas were issued, Appellants conceded that Groner's claims against Debtor were stayed.
   Nonetheless, Groner's claims against Henry were not stayed, and Groner was entitled to continue
   prosecution of those claims. See Chugach Timber Corp. v. Northern Stevedoring & Handling
   Corp. (In re Chugach Forest Products, Inc.), 23 F.3d 241, 246 (9th Cir.1994), quoting Advanced
   Ribbons and Office Products, Inc. v. U.S. Interstate Distributing, Inc. (In re Advanced Ribbons and
   Office Products, Inc.), 125 B.R. 259, 263 (9th Cir. BAP 1991) ("[The automatic stay] does not
   protect non-debtor parties or their property. [Citations omitted]. Thus, section 362(a) does not stay
   actions against guarantors, sureties, corporate affiliates, or other non-debtor parties liable on the
   debts of the debtor.”).” In re Miller, supra at 503-504.

   Pratt’s bankruptcy filing has no bearing on Plaintiffs’ claims against every other defendant to this
   action. Mr. Rikos’ cancellation of the deposition today was clearly erroneous and a contrived
   attempt to delay trial. Indeed, under the holding In re Miller, supra, Plaintiffs could subpoena Pratt
   himself to appear for deposition since he is a witness for Plaintiffs’ claims against Garcia, Wolfe
   and the entity defendants.

   Based on the foregoing, we will be conducting discovery and proceeding to trial as scheduled
   against Wolfe, Garcia, BLL Media Inc., BLL Media Holdings, LLC, Domi Publications, LLC, EG
   Publicaitons, Inc., Bubblegum Films, Inc., Merro Media, Inc., Sidle Media Limited, Oh Well Media
   Limited and M1M Media, Inc. The stay does not affect them. Also, we are confident we will
   receive relief from stay as it relates to Pratt before the March 8th trial date. Our claims against
   him are non-dischargeable. See 11 USC 523(a)(2)(A). Even if they were dischargeable, the
   claims are currently unliquidated must be tried before the bankruptcy court could even approve of
   a Chapter 13 plan. A motion for relief from stay must be heard within 30 days of being filed.
    Obtaining relief from stay for Plaintiffs’ claims against Pratt before the March 8th trial date is
   therefore all but assured.

   Over two months ago, Defendants noticed Jane Doe No. 21’s deposition to take place on January
   25th. Jane Doe No. 21 has already made the cross-country flight from New York City based on

                                                        Exhibit D
                                                       Page 1 of 4
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.215 Page 24 of 83


   this deposition notice and will be appearing at Veritext on Friday as noticed. (See attached.)
    Defendants noticed Jane Doe No. 21’s deposition in Salt Lake City on January 25th.
    (See attached.) Plaintiffs have already made travel arrangements and will be making the trip to
   Salt Lake City for the deposition. She will be appearing as noticed. Jane Doe No. 3 and Jane
   Doe No. 20 will also be appearing as noticed by Defendants. (See attached.)

   Plaintiffs will also be moving forward with all other depositions that they have properly noticed.
   Defendants’ failure to show up at any of these depositions based on their unmeritorious claim that
   Pratt’s personal bankruptcy filing stays the entire case is done at Defendants' own peril. These
   plaintiffs will not be made available for deposition again, since discovery will be closed soon. If
   Defendants want to depose them, this is their chance.

   Brian




           On Jan 23, 2019, at 4:24 PM, Ed Chapin <Echapin2@sanfordheisler.com> wrote:

           Aaron, you read the stay more expensively than I do. I understand that the case Is
           stayed only as to Pratt and that the rest of the matter will go forward.
            Accordingly, we intend to proceed with discovery, attend hearings as set by the
           court and of course we will be filing an emergency motion for relief from stay of
           the bankruptcy filing of Michael Pratt.


           Ed Chapin
           CA Managing Partner, bio
           655 West Broadway, Suite 1700, San Diego, CA 92101
           DIRECT: 619-577-4251 | MAIN: 619-577-4253

                                     New York
                                     Washington, DC
                                     San Francisco
                                     San Diego
                                     Nashville
                                     Baltimore

           DISCLAIMER: This e-mail message is intended only for the personal use of the recipient(s) named above.
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           may include attorney work product. If you are not an intended recipient, you may not review, copy or
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           e-mail and delete the original message.



           From: Aaron Sadock <asadock@panakoslaw.com>
           Sent: Wednesday, January 23, 2019 4:21 PM
           To: Ed Chapin
           Cc: Daniel A. Kaplan; George Rikos; Brian Holm; John O’Brien; Cara Van Dorn;
           Christopher Yandel; Fernando Salazar; Bonnie McKnight; Ali Byler; Anna King; Julianne
           Roth
           Subject: Re: Tentative Rulings

                                                        Exhibit D
                                                       Page 2 of 4
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.216 Page 25 of 83



        Ed,

        As you now know this case is stayed and we do not intend to on violating the stay.
         Thus, all scheduled depositions our off calendar including but not limited the
        depositions noticed for this coming Friday.

        Based on our reading of the tentative ruling the only issue order to meet and
        confer on was the scope of the subpoenas which we have already come to terms
        on. In fact, this motion was left on calendar because Mr. Holm forgot to remove
        it. Please refer to the communications to confirm if needed. If you disagree, we
        our happy to meet with you or anyone else at our office so this issue could be
        resolved if/when the stay is removed. We will be at our office until 6:00pm today
        if you wanted to stop by.
          
        Sincerely,

        Aaron D. Sadock, Esq.
        Managing Attorney


        <PanakosLaw_LogoEmail.jpg>



        www.Panakos.law
        555 West Beech Street
        Suite 500
        San Diego, CA 92101
        O: (619) 800 - 0529
        D: (619) 312 - 4125
        Confidentiality & Legal Notice



               On Jan 23, 2019, at 10:14 AM, Ed Chapin
               <Echapin2@sanfordheisler.com> wrote:

               Gentlemen and lady,

               We are to meet and confer per the court’s tentative rulings issued this morning. John
               O’Brien will return from the MN depo at 5:00 today. I suggest we meet at 5:30 at my office
               today in an effort to hammer out agreements on the issues as the court instructs.


               Ed Chapin
               CA Managing Partner, bio
               655 West Broadway, Suite 1700, San Diego, CA 92101
               DIRECT: 619-577-4251 | MAIN: 619-577-4253

                                          New York
                                          Washington, DC
                                          San Francisco
                                          San Diego
                                          Nashville
                                          Baltimore


                                                    Exhibit D
                                                   Page 3 of 4
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                                                    Exhibit D
                                                   Page 4 of 4
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                               EXHIBIT E
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.219 Page 28 of 83




                                   Exhibit E
                                  Page 1 of 11
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.220 Page 29 of 83




                                   Exhibit E
                                  Page 2 of 11
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                               EXHIBIT A
                                   Exhibit E
                                  Page 3 of 11
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                                   Exhibit E
                                  Page 4 of 11
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.223 Page 32 of 83




                                   Exhibit E
                                  Page 5 of 11
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.224 Page 33 of 83




                                   Exhibit E
                                  Page 6 of 11
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.225 Page 34 of 83
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.226 Page 35 of 83




                                   Exhibit E
                                  Page 8 of 11
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                                   Exhibit E
                                  Page 9 of6 114
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.228 Page 37 of 83



     1
                                              PROOF OF SERVICE
     2
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
     3                        COUNTY OF SAN DIEGO – CENTRAL DIVISION
     4   Jane DOES Nos. 1-14 v. GIRLSDOPORN.COM, et al.
          San Diego Superior Court Case No 37-2016-00019027-CU-FR-CTL
     5
         Consolidated with Case Nos.:
     6   37-2017-00033321-CU-FR-CTL and 37-2017-00043712-CU-FR-CTL
     7
         I, Julianne E. Roth, declare as follows:
     8
                I am employed by a member of the bar of the State of California. I am over the age of 18
     9   and not a party to the within action; my business address is 555 West Beech Street, Suite 230,
         San Diego, California 92101.
    10
                On, January 24, 2019, I served true and correct copies of the foregoing document(s)
    11   described as:

    12   DEFENDANTS' NOTICE OF FILING NOTICE OF REMOVAL OF ACTION UNDER
         28 U.S.C. § 1441 TO UNITED STATES DISTRICT COURT
    13

    14   on interested parties in this action by placing    the original    true copy(ies) thereof enclosed
         as follows:
    15
          John J. O’Brien, Esq.                            Attorney for Plaintiffs
    16    THE O’OBRIEN LAW FIRM, APLC
    17    750 B. Street, Suite 3300
          San Diego, CA 92101
    18    john@theobrienlawfirm.com

    19    Brian M. Holm, Esq.                              Attorney for Plaintiffs
          HOLM LAW GROUP, PC
    20    12636 High Bluff Drive, Suite 400
          San Diego, CA 92130
    21    brian@holmlawgroup.com
    22    Carrie Goldberg                                  Attorney for Plaintiffs
          C.A. GOLDBERG, PLLC
    23
          16 Court Street, Suite 2500
    24    Brooklyn, NY 11241
          carrie@cagoldberglaw.com
    25

    26

    27

    28
                                                        -1-
                                                  Proof of Service
                                              Exhibit E
                                             37-2016-19027-CU-FR-CTL
                                            Page 10 of 11
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.229 Page 38 of 83



     1    George D. Rikos, Esq.                           Attorney for Defendant DOMI
          Law Offices of George Rikos                     Publications, LLC
     2    225 Broadway, Ste. 2100
          San Diego, CA 92101
     3    george@georgerikoslaw.com
     4    Ed Chapin, Esq.                                 Attorneys for Plaintiffs
          echapin@sanfordheisler.com
     5    Cara Van Dorn, Esq.
          cvandorn@sanfordheisler.com
     6    Sanford, Heisler Sharp, LLP
          655 West Broadway, Suite 1700
     7    San Diego, CA 92101
     8      BY U.S. MAIL (C.C.P. § 1013(a)) I am readily familiar with the firm’s practice of collection and
         processing correspondence for mailing with the United States Postal Service. Under that
     9   practice, it would be deposited with United States postal service on that same day with postage
         thereon fully prepaid at San Diego, California in the ordinary course of business. The envelope
    10   was sealed and placed for collection and mailing on that date following ordinary business
         practices. I am aware that on motion of the party served, service is presumed invalid if postal
    11   cancellation date or posted meter date is more than one day after date of deposit for mailing in
         affidavit.
    12      BY ELECTRONIC TRANSMISSION-ONE LEGAL (C.C. P. § 1010.6(6)) Based on a court order or an
         agreement of the parties to accept service by email or electronic transmission, I caused the
    13   documents to be sent to the persons at the e-mail address(es) listed. I did not receive, within a
         reasonable time after the transmission, any electronic message or other indication that the
    14   transmission was unsuccessful.

    15       BY OVERNIGHT DELIVERY (C.C. P. § 1013(c)) I am readily familiar with the firm’s practice of
         collection and processing correspondence for mailing with Overnite Express and Federal
    16   Express. Under that practice, it would be deposited with Overnite Express and/or Federal
         Express on that same day thereon fully prepaid at San Diego California in the ordinary course of
    17   business. The envelope was sealed and placed for collection and mailing on that date following
         ordinary business practices.
    18      BY FACSIMILE (C.C. P. § 1013(e)) Based on agreement of the parties to accept service by fax
         transmission, I faxed the documents on this date to the person(s) at the fax numbers listed. No
    19   error was reported by the fax machine that I used. A copy of the record of the fax transmission,
         which I printed out, is attached.
    20
            BY PERSONAL SERVICE (C.C. P. § 1011(a)) I served the documents by placing them in an
    21   envelope or package addressed to the person(s) at the addresses listed and providing them to a
         professional messenger service for service on this date.
    22
            (STATE) I declare under penalty of perjury under the laws of the State of California that the
    23   above is true and correct.
    24       (FEDERAL) I declare that I am employed in the office of a member of the bar of this court
         at whose direction the service was made.
    25
         Executed on January 24, 2019, in San Diego, California.
    26

    27                                                 /s/ Julianne E. Roth
                                                       Julianne E. Roth
    28
                                                       -2-
                                                 Proof of Service
                                             Exhibit E
                                            37-2016-19027-CU-FR-CTL
                                           Page 11 of 11
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                               EXHIBIT F
    Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.231 Page 40 of 83
                            SUPERIOR COURT OF CALIFORNIA,
                                COUNTY OF SAN DIEGO
                                      CENTRAL
                                          MINUTE ORDER
DATE: 01/24/2019                    TIME: 01:30:00 PM                DEPT: C-73
JUDICIAL OFFICER PRESIDING: Joel R. Wohlfeil
CLERK: Andrea Taylor
REPORTER/ERM: Leyla Jones CSR# 12750
BAILIFF/COURT ATTENDANT: R. Camberos

CASE NO: 37-2016-00019027-CU-FR-CTL CASE INIT.DATE: 06/02/2016
CASE TITLE: DOE vs GIRLSDOPORNCOM [IMAGED]
CASE CATEGORY: Civil - Unlimited  CASE TYPE: Fraud


EVENT TYPE: Motion Hearing (Civil)
MOVING PARTY: M1M Media LLC, Matthew Wolfe, BLL Media Holdings LLC, EG Publications INC,
Merro Media Holdings LLC, Andre Garcia, BLL Media INC, Michael J Pratt, GIRLSDOPORN.COM,
Merro Media INC
CAUSAL DOCUMENT/DATE FILED: Motion to Continue Trial, 12/26/2018

EVENT TYPE: Discovery Hearing
MOVING PARTY: Jane Doe 1
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Discovery, 12/26/2018

EVENT TYPE: Motion Hearing (Civil)
MOVING PARTY: Domi Publications LLC
CAUSAL DOCUMENT/DATE FILED: Motion for Reconsideration, 12/20/2018
Additional events listed on last page.

APPEARANCES
Brian M Holm, counsel, present for Respondent on Appeal,Plaintiff(s).
Edward Chapin, counsel, present for Defendant,Respondent on Appeal,Plaintiff(s).
John J O'Brien, counsel, present for Respondent on Appeal,Plaintiff(s).
Daniel A Kaplan, counsel, present for Defendant(s).
George D Rikos, counsel, present for Defendant,Respondent on Appeal,Cross - Appellant,Appellant(s).
Aaron D Sadock, counsel, present for Defendant,Appellant(s).
Attorney Doug Pettit appears on behalf of Attorney Brian Holm.
Attorney Garry McCarthy appears on behalf of non-party CPA Mike Shapiro.
Attorney Alexandra Byler appears on behalf of Defendants.


(Clerk's Note: Prior to calendar call the Court approved NBC's media request)




DATE: 01/24/2019                               MINUTE ORDER                                  Page 1
DEPT: C-73
                                               Exhibit F                              Calendar No. 17
                                              Page 1 of 3
   Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.232 Page 41 of 83
CASE TITLE: DOE vs GIRLSDOPORNCOM [IMAGED]      CASE NO: 37-2016-00019027-CU-FR-CTL

This being the time set for motions in the above-entitled cause, counsel are present as noted above.
The Court received on 1/23/19 a Notice of stay of proceedings as to Michael Pratt.
The Court just was handed a Notice of Removal of Action on behalf of all Defendants under 28 U.S.C. §
1441 to United States District Court.
The Court stays this action until the case is remanded, if at all, by the Federal Court. In the meanwhile,
all dates remain on calendar.




DATE: 01/24/2019                                MINUTE ORDER                                     Page 2
DEPT: C-73
                                               Exhibit F                                  Calendar No. 17
                                              Page 2 of 3
   Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.233 Page 42 of 83
CASE TITLE: DOE vs GIRLSDOPORNCOM [IMAGED]      CASE NO: 37-2016-00019027-CU-FR-CTL


 ADDITIONAL EVENTS:


EVENT TYPE: Discovery Hearing
MOVING PARTY: Jane Doe 1
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Discovery, 12/26/2018


EVENT TYPE: Discovery Hearing
MOVING PARTY: Bubblegum Flims INC, M1M Media LLC, BLL Media Holdings LLC, EG Publications
INC, MATTHEW WOLFE, Merro Media Holdings LLC, Andre Garcia, BLL Media INC, Michael J Pratt,
GIRLSDOPORN.COM, Merro Media INC
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Discovery Deposition of Jane Doe No 3,
01/03/2019


EVENT TYPE: Motion to Quash (Civil)
MOVING PARTY: Jane DOE 12, Jane Doe 18, Jane Doe 2, Jane Doe 4, Jane DOE 14, Jane DOE 6,
Jane DOE 8, Jane DOE 9, Jane DOE 10, Jane DOE 11, Jane DOE 13, Jane Doe 17, Jane Doe 20,
Jane Doe 22, Jane DOE 7, Jane Doe 16, Jane Doe 3, Jane DOE 5, Jane Doe 1, Jane Doe 15, Jane
Doe 19, Jane Doe 21
CAUSAL DOCUMENT/DATE FILED: Motion to Quash Subpoena, 12/20/2018


EVENT TYPE: Motion Hearing (Civil)
MOVING PARTY: M1M Media LLC, BLL Media Holdings LLC, EG Publications INC, BLL Media INC,
Michael J Pratt, Merro Media INC
CAUSAL DOCUMENT/DATE FILED: Motion to Disqualify Attorney of Record, 01/03/2019


EVENT TYPE: Motion Hearing (Civil)
MOVING PARTY: Jane Doe 2, Jane Doe 4, Jane DOE 6, Jane DOE 8, Jane DOE 9, Jane DOE 1, Jane
DOE 10, Jane DOE 7, Jane Doe 3, Jane DOE 5
CAUSAL DOCUMENT/DATE FILED: Ex Parte Application - Other and Supporting Documents For
Order Re: Defendants Threatening to Sue Deponents During Depositions and For Order Compelling
MIchael Shapiro CPA To Produce Documents, 01/02/2019


EVENT TYPE: Discovery Hearing
MOVING PARTY: Jane DOE 12, Jane Doe 18, Jane Doe 2, Jane Doe 4, Jane DOE 14, Jane DOE 6,
Jane DOE 8, Jane DOE 9, Jane DOE 10, Jane DOE 11, Jane DOE 13, Jane Doe 17, Jane Doe 20,
Jane Doe 22, Jane DOE 7, Jane Doe 16, Jane Doe 3, Jane DOE 5, Jane Doe 1, Jane Doe 15, Jane
Doe 19, Jane Doe 21
CAUSAL DOCUMENT/DATE FILED: Motion - Other for Order Allowing Pretrial Discovery of Defedents
Finances and Net Worth, 12/26/2018


EVENT TYPE: Discovery Hearing
MOVING PARTY: Jane Doe 18, Jane Doe 2, Jane Doe 4, Jane DOE 12, Jane DOE 14, Jane DOE 6,
Jane DOE 8, Jane DOE 9, Jane DOE 13, Jane Doe 17, Jane Doe 20, Jane Doe 22, Jane DOE 10,
Jane DOE 11, Jane DOE 7, Jane Doe 16, Jane Doe 3, Jane DOE 5, Jane Doe 15, Jane Doe 1, Jane
Doe 19, Jane Doe 21
CAUSAL DOCUMENT/DATE FILED: Motion to Compel Discovery Further Responses to Requests for
Production of Documents, 12/26/2018
DATE: 01/24/2019                          MINUTE ORDER                                   Page 3
DEPT: C-73
                                          Exhibit F                              Calendar No. 17
                                          Page 3 of 3
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.234 Page 43 of 83




                               EXHIBIT G
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.235 Page 44 of 83

                          SUPERIOR COURT OF CALIFORNIA

                     COUNTY OF SAN DIEGO, CENTRAL DIVISION



           JANE DOE NOS. 1-14,
           inclusive, individuals;
                                                  Hon. Joel R. Wohlfeil
                 Plaintiffs,

                 vs.                              CASE NO. 37-2016-
                                                  00019027-CU-FR-CTL
           GIRLSDOPORN.COM, a business
           organization, form unknown;            CONSOLIDATED WITH:
           MICHAEL J. PRATT, an                   CASE NO. 37-2017-
           individual; ANDRE GARCIA,              00043712-CU-FR-CTL
           an individual; MATTHEW                 CASE NO. 37-2017-
           WOLFE, an individual; BLL              00033321-CU-FR-CTL
           MEDIA, INC., a California
           corporation; BLL MEDIA
           HOLDINGS, LLC, a Nevada
           limited liability company;
           DOMI PUBLICATIONS, LLC, a
           Nevada limited liability
           company; EG PUBLICATIONS,
           INC., a California
           corporation; M1M MEDIA,
           LLC, a California limited
           liability company;
           BUBBLEGUM FILMS, INC., a
           business organization, form
           unknown; OH WELL MEDIA
           LIMITED, a business
           organization, form unknown;
           MERRO MEDIA, INC., a
           California corporation;
           MERRO MEDIA HOLDINGS, LLC,
           a Nevada limited liability
           company; and ROES 1-500,
           inclusive,

                Defendants.
           __________________________

                            TRANSCRIPT OF PROCEEDINGS
                                 January 24, 2019
                                     1:31 p.m.

                           330 West Broadway, Dept. 73
                              San Diego, California

           REPORTED BY:
           Leyla S. Jones
           CSR No. 12750
                                   Exhibit G
                                  Page 1 of 12
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.236 Page 45 of283

     1     APPEARANCES:

     2           For Plaintiffs:

     3                  STOKES O'BRIEN
                        JOHN J. O'BRIEN, ESQ.
     4                  750 B Street, Suite 3300
                        San Diego, California 92101
     5                  619.696.0017
                        john@stokesobrien.com
     6
                        -AND-
     7
                        HOLM LAW GROUP
     8                  BRIAN M. HOLM, ESQ.
                        12636 High Bluff Drive, Suite 400
     9                  San Diego, CA 92130
                        888.483.3323
    10                  brian@holmlawgroup.com

    11                  -AND-

    12                  SANFORD HEISLER SHARP
                        EDWARD D. CHAPIN, ESQ.
    13                  655 West Broadway, Suite 1700
                        San Diego, California 92101
    14                  619.577.4253
                        echapin2@sanfordheisler.com
    15
                 For Defendant Domi Publications:
    16
                        LAW OFFICE OF GEORGE RIKOS
    17                  GEORGE RIKOS, ESQ.
                        225 Broadway, Suite 2100
    18                  San Diego, California 92101
                        858.724.1453
    19                  george@georgerikoslaw.com

    20           For Defendants Girlsdoporn.com, Bubblegum
                 Films, M1M Media, Merro Media, EG
    21           Publications, Michael J. Pratt, and Matthew
                 Wolfe:
    22
                        PANAKOS LAW
    23                  AARON D. SADOCK, ESQ.
                        555 West Beech Street, Suite 500
    24                  San Diego, California 92101
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    25                  asadock@panakoslaw.com

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    28
                                   Exhibit G
                                  Page 2 of 12
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.237 Page 46 of383

     1     APPEARANCES (Continued):

     2           For Defendants BLL Media, EG Publications,
                 Merro Media, M1M Media, and Michael J. Pratt:
     3
                        THE LAW OFFICES OF DANIEL A. KAPLAN
     4                  DANIEL A. KAPLAN, ESQ.
                        ALEXANDRA BYLER, ESQ.
     5                  555 West Beech Street, Suite 230
                        San Diego, California 92101
     6                  619.685.3988
                        dkaplan@danielkaplanlaw.com
     7                  ali@danielkaplanlaw.com

     8           For CPA Mike Shapiro:

     9                  TYSON & MENDES
                        GARRY MCCARTHY, ESQ.
    10                  5661 La Jolla Boulevard
                        La Jolla, California 92037
    11                  858.263.4064
                        gmccarthy@tysonmendes.com
    12
                 For Brian Holm and The Holm Law Group:
    13
                        PETTIT KOHN INGRASSIA LUTZ & DOLIN
    14                  DOUGLAS A. PETTIT, ESQ.
                        11622 El Camino Real, Suite 300
    15                  San Diego, California 92130
                        858.755.8500
    16                  dpettit@pettitkohn.com

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                                   Exhibit G
                                  Page 3 of 12
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.238 Page 47 of483

     1                        San Diego, California;

     2               Thursday, January 24, 2019; 1:31 p.m.

     3

     4                THE COURT:      All right.      Come on up here,

     5     counsel.     This is in the case of Jane Doe -- I

     6     should say Doe vs. Girlsdoporn.com in case number

     7     ending 19027, et cetera.          We got a lot of folks in

     8     the courtroom.       Once you've gotten situated -- I

     9     didn't think after this long I'd see a new face, but

    10     I'm seeing a new face.

    11                MR. PETTIT:      Yes, Your Honor.

    12                THE COURT:      All right.      So from the Court's

    13     right all the way to the Court's --

    14                And I'm used to you standing over there,

    15     Mr. Rikos.

    16                -- your appearances, please.

    17                MR. PETTIT:      Good morning, Your Honor.

    18     Doug Pettit specially appearing on behalf of Brian

    19     Holm and The Holm Law Group on the motion to

    20     disqualify.

    21                MR. O'BRIEN:       Good afternoon, Your Honor.

    22     John O'Brien for Plaintiffs.

    23                MR. HOLM:      Brian Holm also on behalf of

    24     Plaintiffs.

    25                MR. CHAPIN:      Edward Chapin on behalf of

    26     Plaintiffs.

    27                MR. MCCARTHY:       Garry McCarthy for CPA Mike

    28     Shapiro.
                                   Exhibit G
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     1                THE COURT:      Good to see you, Mr. McCarthy.

     2     How are you doing?

     3                MR. MCCARTHY:       I'm doing well.

     4                THE COURT:      All right.      Counsel?

     5                MR. SADOCK:      Aaron Sadock on behalf of some

     6     of the defendants.

     7                MR. KAPLAN:      Daniel Kaplan, same, on behalf

     8     of some of the defendants.

     9                MS. BYLER:      Alexandra Byler on behalf of

    10     some of the defendants.

    11                MR. RIKOS:      And George Rikos on behalf of

    12     only one defendant, Domi Publications.              Thank you,

    13     Your Honor.

    14                THE COURT:      So this may not take as long as

    15     I thought it might take, but I understand from

    16     somebody communicating to the Court yesterday that

    17     Mr. Pratt has filed for bankruptcy.             But in addition

    18     to that information, the Court was provided,

    19     literally moments ago, with a notice of removal of

    20     action, which was filed on behalf of -- was it all

    21     defendants?

    22                MR. SADOCK:      Yes.      It involved all

    23     defendants, Your Honor.

    24                THE COURT:      All right.      So let me go to the

    25     plaintiffs' side.        Who -- I don't care who speaks,

    26     but who's going to take the lead?

    27                MR. HOLM:      I can, Your Honor.

    28                THE COURT:      All right.      So for the time
                                   Exhibit G
                                  Page 5 of 12
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     1     being, the limited purpose that I'm asking you to

     2     respond -- to address is the notice of removal.

     3                 MR. HOLM:     Of course.      So we've only been

     4     provided notice of a bankruptcy filing by Michael

     5     Pratt.     And as I'm sure this Court understands, a

     6     bankruptcy filing in a multiple defendant action

     7     doesn't stay the case for the other defendants.

     8                 The removal section that that is filed

     9     under is a specific removal section for a bankruptcy

    10     debtor.     It's not saying they're removing it under

    11     diversity or federal question jurisdiction.                There's

    12     an exception carved out under the statute cited

    13     there for the bankruptcy debtor, Mr. Pratt.

    14                 If anything, only his claims have been

    15     removed under that code section.            I think it's 1442,

    16     off the top of my head.          The Subsection B says you

    17     can move to have that remanded for any equitable

    18     grounds.     We will be seeking to have that remanded

    19     back here, and also a motion for relief from stay.

    20     All of those need to be heard within 30 days.                We

    21     think we will have those and Mr. Pratt back in this

    22     courtroom ready for trial on March 8th.              Regardless,

    23     we're ready to proceed against the 20 other

    24     defendants in the case.

    25                 THE COURT:     All right.      Did anybody on the

    26     defense want to respond?

    27                 MR. RIKOS:     I believe it's --

    28                 MR. SADOCK:     Your Honor, we would like to
                                   Exhibit G
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     1     take the risk of violating a stay that's at their

     2     own election.      The removal has been filed.           All of

     3     the issues Mr. Holm has brought up, he should and is

     4     more than able to go to the bankruptcy court in

     5     federal court and address that.            Until that's done,

     6     frankly, we shouldn't proceed further.

     7                THE COURT:      At least for the time being, I

     8     tend to agree with you, Counsel.

     9                So the Court is going to stand down until I

    10     get an order from the federal court remanding all or

    11     part of this case to this court.            If and when the

    12     Court receives that -- this department receives that

    13     order, everyone should be on notice that we will

    14     promptly resume with the balance of these

    15     proceedings.      Were the Court to proceed otherwise,

    16     I'd be getting a lot of people, including myself, in

    17     trouble, and I'm not inclined to go there today.

    18                So this department will respect the notice

    19     of removal.      And I guess it's now up to the

    20     plaintiffs, should you choose to do so, to move with

    21     all due speed to get an order which allows this to

    22     resume managing this case.

    23                Let me go back to Plaintiffs' side.              That

    24     might not be what you want to hear, but I'm not so

    25     sure I have any discretion to proceed otherwise.

    26                MR. HOLM:      I understand this Court's

    27     reluctance and deference to the federal court.

    28     We've read the authorities.           We don't think they
                                   Exhibit G
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     1     apply.     We think this is a last-minute effort to

     2     stop the trial.

     3                 We've got depositions set tomorrow here and

     4     in Salt Lake City.        I fly from there to Phoenix to

     5     take two more depositions in Phoenix and Tucson of

     6     witnesses that we've subpoenaed.            From there, I fly

     7     to Miami to take another deposition of a witness we

     8     subpoenaed.

     9                 We will assess any authorities they send

    10     us, but our analysis so far is that they're

    11     bankruptcy filings have no stay for anything else

    12     other than Michael Pratt, and we will be proceeding

    13     with those depositions accordingly.

    14                 And if they're going to rely on it and the

    15     authorities come out in our favor, their failure to

    16     show up and take the -- and be in attendance at

    17     those depositions falls on their decision to try

    18     this last-minute maneuver.            So I just wanted to

    19     bring that to the Court's attention.

    20                 THE COURT:     All right.

    21                 MR. RIKOS:     From Domi's standpoint,

    22     Your Honor, some of the defendants filed a notice of

    23     removal.     I received a copy of it in the gallery a

    24     few minutes before the hearing, like you did.                I

    25     cannot -- I've had notices of removal filed against

    26     me in cases.      The notion that somehow -- that some

    27     of the parties feel that they can continue with

    28     discovery is really a misnomer.
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     1                 The notice of removal removes it to federal

     2     court.     When and if it comes back down, I would like

     3     to be able to participate in discovery.              I can't do

     4     so, one, without violating the stay; and two, the

     5     state court action to which the subpoenas and

     6     witnesses are going forward no longer has

     7     jurisdiction because it remains in federal court

     8     until the federal bankruptcy court sends us back

     9     down.    So I cannot be in a situation where I

    10     can't -- I'm left to make a judgment call whether to

    11     participate in discovery in a case that has now been

    12     removed to federal court until such time.

    13                 So from Domi's perspective, I don't know if

    14     the Court can even provide guidance.             But to the

    15     extent that the Court can say this matter is either

    16     stayed or no longer in this department until such

    17     time as an order, I think then discovery cannot

    18     proceed.     I can't be responsible for potentially

    19     violating the stay or participating in a case that

    20     doesn't exist in this department as of right now.

    21                 MR. CHAPIN:     Well --

    22                 THE COURT:     One moment.      Did either one of

    23     you two want to stay anything?

    24                 MR. KAPLAN:     No, Your Honor.        I don't.

    25                 THE COURT:     All right.      Final comment?

    26                 MR. CHAPIN:     Yes, sir.      Thank you.      Whether

    27     the stay is valid is a question that's going to be

    28     resolved.     And so for counsel to presume that there
                                   Exhibit G
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                                                                           1083
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     1     is a stay in place that may very well be invalid,

     2     then I think he proceeds at his own risk.

     3                 But we're going to continue with what we

     4     believe is what we can do based upon the advice that

     5     we received from competent bankruptcy counsel.                And

     6     I just want that on the record, then, to advise the

     7     Court of that.

     8                 THE COURT:     All right.       Each of you may be

     9     right or not in whole or in part.             I'm not giving

    10     any guidelines, any direction whatsoever for the

    11     time being.     This department is standing down and

    12     will not do anything else unless and until the

    13     federal court issues an order remanding this case

    14     back to this department.

    15                 So as of this moment, the Court stays

    16     everything.     I'm not vacating anything.           I am simply

    17     staying everything as of this moment, and we'll wait

    18     to see what the future holds from the federal court.

    19                 Counsel, thank you all very much.

    20                 MR. CHAPIN:     Thank you.

    21                 MS. BYLER:     Your Honor, does that include

    22     future hearing dates then?             The hearing dates are

    23     not vacated?

    24                 THE COURT:     Counsel, I said it already

    25     once.    I'm going to say it twice.           I'm not vacating

    26     anything.     I'm not taking any action.          Everything is

    27     stayed as of this moment.             Thank you very much.

    28                 MR. MCCARTHY:      And I have one request
                                   Exhibit G
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                                                                           1183
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     1     before we all adjourn.         I'm not on the service list.

     2     So when this case -- if and when this case gets back

     3     going, I would like to get notice of a new hearing.

     4                THE COURT:      Counsel, everyone has been

     5     fighting real hard in this case, but they're all, in

     6     their own way, civil.        Reach out to one on each

     7     side, and I'm sure that that can be accomplished.

     8                MR. MCCARTHY:       Thank you, sir.

     9            (The proceedings concluded at 1:40 p.m.)

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                                   Exhibit G
                                 Page 11 of 12
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Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.246 Page 55 of

     1     STATE OF CALIFORNIA          )
                                        )
     2     COUNTY OF SAN DIEGO          )

     3

     4                I, Leyla S. Jones, a Certified Shorthand

     5     Reporter, do hereby certify:

     6                That prior to being examined, the witness

     7     in the foregoing proceedings was by me duly sworn to

     8     testify to the truth, the whole truth, and nothing

     9     but the truth;

    10                That said proceedings were taken before me

    11     at the time and place therein set forth and were

    12     taken down by me in shorthand and thereafter

    13     transcribed into typewriting under my direction and

    14     supervision;

    15                I further certify that I am neither counsel

    16     for, nor related to, any party to said proceedings,

    17     nor in any way interested in the outcome thereof.

    18                In witness whereof, I have hereunto

    19     subscribed my name.

    20

    21     Dated:    January 25, 2019

    22

    23     ______________________________
           Leyla S. Jones
    24     CSR No. 12750

    25

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                                   Exhibit G
                                 Page 12 of 12
Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.247 Page 56 of 83




                               EXHIBIT H
 Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.248 Page 57 of 83




1                                         PROOF OF SERVICE
                                (Section 1013a, 2015.5 Code of Civ. Proc.)
2                                State of California, County of San Diego
3            I am employed in the County of San Diego, State of California. I am over 18 years of age and not a
4    party to the within action; my business address is 655 W Broadway Suite 1700, San Diego, California 92101.

5    Case Name: Jane DOES v. Girlsdoporn.com, et. al
     Lead Case Number: 37-2016-00019027-CU-FR-CTL
6    Consolidated with: 37-2017-00033321-CU-FR-CTL and 37-2017-00043712-CU-FR-CTL
7
     On January 25, 2019, I served the following documents described as:
8
     PLAINTIFFS’ FIRST EXCHANGE OF EXPERT WITNESS INFORMATION
9
10   On the interested parties in this action, addressed as follows:

11     George D. Rikos                                           Daniel Kaplan
       Law Office of George Rikos                                Law Offices of Daniel A. Kaplan
12     225 Broadway, Suite 2100, San Diego, CA 92101             555 West Beech Street, Suite 230
13     Tel: (858) 342-9161                                       San Diego, CA 92101
       Fax: (866) 365-4856                                       Tel: (619) 685-3988
14     Counsel for Defendant DOMI Publications, LLC.             Fax: (619) 684-3239
       george@georgerikoslaw.com                                 dkaplan@danielkaplanlaw.com
15
                                                                 Co-Counsel for Remaining Defendants
16    Aaron Sadock, Esq.
      Panakos Law APC                                            Brian M. Holm
17    555 West Beech Street, Suite 500                           HOLM LAW GROUP, PC
      San Diego, CA 92101                                        12636 High Bluff Drive, Suite 400
18                                                               San Diego, CA 92130
      Fax: (866) 365-4856
                                                                 Tel: 858.707.5858
19    asadock@panakoslaw.com
      Co-Counsel for Remaining Defendants                        brian@holmlawgroup.com
20                                                               Co-Counsel for Plaintiffs

21
      John J. O’Brien                                            Carrie Goldberg
22
      O’BRIEN LAW FIRM, APLC                                     C.A. GOLDBERG, PLLC
23    750 B Street, Suite 3300 THE                               16 Court Street, Suite 2500
                                                                 Brooklyn, NY 11241
      San Diego, CA 92101                                        Tel: 646.666.8908
24    Tel: 619.535.5151                                          carrie@cagoldberglaw.com
      Fax: (888) 805-6785                                        Co-Counsel for Plaintiffs
25
      john@theobrienlawfirm.com
26    Co-Counsel for Plaintiffs
27
     ________________________________________________________________________
28
                                                          -1 –
                                                      Proof of Service

                                                 Exhibit H
                                                Page 1 of 6
 Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.249 Page 58 of 83



           BY MAIL: I am readily familiar with the office practice for collection and processing of
1          correspondence for mailing with the United States Postal Service (USPS). The correspondence
           indicated above would be deposited with the USPS the same date as this declaration in the ordinary
2          course of business. The correspondence was placed for deposit with the USPS at the offices of the
           Law Offices of Robert Hamparyan, 275 West Market Street, San Diego, California. The envelope(s)
3          was/were sealed with postage fully prepaid on this date and placed for collection and mailing
4          following ordinary business practices and addressed as shown above.

5          BY PERSONAL SERVICE: By personally delivering the above-captioned document(s) to the
           parties within.
6
           BY FACSIMILE TRANSMISSION: I caused the above-referenced document to be faxed to the fax
7          number(s) indicated above. The facsimile machine I used complied with rule 2.301 and no error was
           reported by the machine. Pursuant to rule 2.306(g), I caused the machine to print a record of the
8          transmission.
9          BY OVERNIGHT MAIL: I caused to be served by leaving for delivery by USPS a copy of the
           aforementioned document, in sealed envelopes addressed as shown above.
10
     X     BY ELECTRONIC SERVICE: By sending the above-captioned document(s) to the parties via
11         electronic transmission through One Legal as stipulated between parties.
12         I declare under penalty of perjury under the laws of the State of California that the foregoing is true
13   and correct, and that this declaration was executed on January 25, 2019, at San Diego, California.

14
15                                                                /s/ Fernando Salazar
                                                                  Fernando Salazar
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     ________________________________________________________________________
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                                                    Proof of Service

                                                Exhibit H
                                               Page 2 of 6
 Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.250 Page 59 of 83




1                                       PROOF OF SERVICE
                              (Section 1013a, 2015.5 Code of Civ. Proc.)
2                              State of California, County of San Diego
3            I am employed in the County of San Diego, State of California. I am over 18 years of age and not a
4    party to the within action; my business address is 655 W Broadway Suite 1700, San Diego, California 92101.

5    Case Name: Jane DOES v. Girlsdoporn.com, et. al
     Lead Case Number: 37-2016-00019027-CU-FR-CTL
6    Consolidated with: 37-2017-00033321-CU-FR-CTL and 37-2017-00043712-CU-FR-CTL
7
     On January 25, 2019, I served the following documents described as:
8
     -PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF MOTION TO COMPEL PANAKOS LAW,
9    A.P.C.’S COMPLIANCE WITH SUBPOENA FOR PRODUCTION OF BUSINESS RECORDS
10   On the interested parties in this action, addressed as follows:

11    George D. Rikos                                         Daniel Kaplan
      Law Office of George Rikos                              Law Offices of Daniel A. Kaplan
12    225 Broadway, Suite 2100, San Diego, CA 92101           555 West Beech Street, Suite 230
13    Tel: (858) 342-9161                                     San Diego, CA 92101
      Fax: (866) 365-4856                                     Tel: (619) 685-3988
14    Counsel for Defendant DOMI Publications, LLC.           Fax: (619) 684-3239
      george@georgerikoslaw.com                               dkaplan@danielkaplanlaw.com
15
                                                              Co-Counsel for Remaining Defendants
16   Aaron Sadock, Esq.
     Panakos Law APC                                          Brian M. Holm
17   555 West Beech Street, Suite 500                         HOLM LAW GROUP, PC
     San Diego, CA 92101                                      12636 High Bluff Drive, Suite 400
18                                                            San Diego, CA 92130
     Fax: (866) 365-4856
                                                              Tel: 858.707.5858
19   asadock@panakoslaw.com
     Co-Counsel for Remaining Defendants                      brian@holmlawgroup.com
20                                                            Co-Counsel for Plaintiffs

21
     John J. O’Brien                                          Carrie Goldberg
22
     O’BRIEN LAW FIRM, APLC                                   C.A. GOLDBERG, PLLC
23   750 B Street, Suite 3300 THE                             16 Court Street, Suite 2500
                                                              Brooklyn, NY 11241
     San Diego, CA 92101                                      Tel: 646.666.8908
24   Tel: 619.535.5151                                        carrie@cagoldberglaw.com
     Fax: (888) 805-6785                                      Co-Counsel for Plaintiffs
25
     john@theobrienlawfirm.com
26   Co-Counsel for Plaintiffs
27
     ________________________________________________________________________
28
                                                       -1 –
                                                   Proof of Service

                                              Exhibit H
                                             Page 3 of 6
 Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.251 Page 60 of 83



           BY MAIL: I am readily familiar with the office practice for collection and processing of
1          correspondence for mailing with the United States Postal Service (USPS). The correspondence
           indicated above would be deposited with the USPS the same date as this declaration in the ordinary
2          course of business. The correspondence was placed for deposit with the USPS at the offices of the
           Law Offices of Robert Hamparyan, 275 West Market Street, San Diego, California. The envelope(s)
3          was/were sealed with postage fully prepaid on this date and placed for collection and mailing
4          following ordinary business practices and addressed as shown above.

5          BY PERSONAL SERVICE: By personally delivering the above-captioned document(s) to the
           parties within.
6
           BY FACSIMILE TRANSMISSION: I caused the above-referenced document to be faxed to the fax
7          number(s) indicated above. The facsimile machine I used complied with rule 2.301 and no error was
           reported by the machine. Pursuant to rule 2.306(g), I caused the machine to print a record of the
8          transmission.
9          BY OVERNIGHT MAIL: I caused to be served by leaving for delivery by USPS a copy of the
           aforementioned document, in sealed envelopes addressed as shown above.
10
     X     BY ELECTRONIC SERVICE: By sending the above-captioned document(s) to the parties via
11         electronic transmission through One Legal as stipulated between parties.
12         I declare under penalty of perjury under the laws of the State of California that the foregoing is true
13   and correct, and that this declaration was executed on January 25, 2019, at San Diego, California.

14
15                                                                /s/ Fernando Salazar
                                                                  Fernando Salazar
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     ________________________________________________________________________
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                                                    Proof of Service

                                                Exhibit H
                                               Page 4 of 6
 Case 3:19-cv-00160-WQH-BLM Document 14-1 Filed 02/08/19 PageID.252 Page 61 of 83




1                                         PROOF OF SERVICE
                                (Section 1013a, 2015.5 Code of Civ. Proc.)
2                                State of California, County of San Diego
3            I am employed in the County of San Diego, State of California. I am over 18 years of age and not a
4    party to the within action; my business address is 655 W Broadway Suite 1700, San Diego, California 92101.

5    Case Name: Jane DOES v. Girlsdoporn.com, et. al
     Lead Case Number: 37-2016-00019027-CU-FR-CTL
6    Consolidated with: 37-2017-00033321-CU-FR-CTL and 37-2017-00043712-CU-FR-CTL
7
     On January 25, 2019, I served the following documents described as:
8
     -PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF MOTION TO COMPEL GLICK LAW GROUP,
9    P.C.’S COMPLIANCE WITH SUBPOENA FOR PRODUCTION OF BUSINESS RECORDS
10   -DECLARATION OF EDWARD D. CHAPIN ISO MOTION TO COMPEL GLICK LAW GROUP,
     P.C.’S COMPLIANCE WITH SUBPOENA FOR PRODUCTION OF BUSINESS RECORDS
11   -NOTICE OF LODGMENT UNDER SEAL ISO PLAINTIFFS’ MOTION TO COMPEL GLICK
     LAW GROUP, P.C.’S COMPLIANCE WITH SUBPOENA FOR PRODUCTION OF BUSINESS
12   RECORDS
13
     On the interested parties in this action, addressed as follows:
14
       George D. Rikos                                           Daniel Kaplan
15
       Law Office of George Rikos                                Law Offices of Daniel A. Kaplan
16     225 Broadway, Suite 2100, San Diego, CA 92101             555 West Beech Street, Suite 230
       Tel: (858) 342-9161                                       San Diego, CA 92101
17     Fax: (866) 365-4856                                       Tel: (619) 685-3988
       Counsel for Defendant DOMI Publications, LLC.             Fax: (619) 684-3239
18
       george@georgerikoslaw.com                                 dkaplan@danielkaplanlaw.com
19                                                               Co-Counsel for Remaining Defendants
      Aaron Sadock, Esq.
20    Panakos Law APC                                            Brian M. Holm
      555 West Beech Street, Suite 500                           HOLM LAW GROUP, PC
21                                                               12636 High Bluff Drive, Suite 400
      San Diego, CA 92101
                                                                 San Diego, CA 92130
22    Fax: (866) 365-4856
      asadock@panakoslaw.com                                     Tel: 858.707.5858
23    Co-Counsel for Remaining Defendants                        brian@holmlawgroup.com
                                                                 Co-Counsel for Plaintiffs
24
25
      John J. O’Brien                       Carrie Goldberg
26    O’BRIEN LAW FIRM, APLC                C.A. GOLDBERG, PLLC
      750 B Street, Suite 3300 THE          16 Court Street, Suite 2500
27                                          Brooklyn, NY 11241
      San Diego, CA 92101                   Tel: 646.666.8908
     ________________________________________________________________________
      Tel: 619.535.5151                     carrie@cagoldberglaw.com
28
      Fax: (888) 805-6785                   Co-Counsel for Plaintiffs
                                       -1 –
                                                      Proof of Service

                                                 Exhibit H
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     john@theobrienlawfirm.com
1
     Co-Counsel for Plaintiffs
2
3
4
           BY MAIL: I am readily familiar with the office practice for collection and processing of
5          correspondence for mailing with the United States Postal Service (USPS). The correspondence
           indicated above would be deposited with the USPS the same date as this declaration in the ordinary
6          course of business. The correspondence was placed for deposit with the USPS at the offices of the
           Law Offices of Robert Hamparyan, 275 West Market Street, San Diego, California. The envelope(s)
7          was/were sealed with postage fully prepaid on this date and placed for collection and mailing
           following ordinary business practices and addressed as shown above.
8
           BY PERSONAL SERVICE: By personally delivering the above-captioned document(s) to the
9          parties within.
10         BY FACSIMILE TRANSMISSION: I caused the above-referenced document to be faxed to the fax
           number(s) indicated above. The facsimile machine I used complied with rule 2.301 and no error was
11         reported by the machine. Pursuant to rule 2.306(g), I caused the machine to print a record of the
12         transmission.

13         BY OVERNIGHT MAIL: I caused to be served by leaving for delivery by USPS a copy of the
           aforementioned document, in sealed envelopes addressed as shown above.
14
     X     BY ELECTRONIC SERVICE: By sending the above-captioned document(s) to the parties via
15         electronic transmission through One Legal as stipulated between parties.

16         I declare under penalty of perjury under the laws of the State of California that the foregoing is true
     and correct, and that this declaration was executed on January 25, 2019, at San Diego, California.
17
18
                                                                  /s/ Fernando Salazar
19                                                                Fernando Salazar
20
21
22
23
24
25
26
27
     ________________________________________________________________________
28
                                                        -2 –
                                                    Proof of Service

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 1   Ed Chapin (State Bar No. 53287)
     SANFORD HEISLER SHARP, LLP
 2   655 West Broadway, Suite 1700
     San Diego, CA 92101
 3   t. 619.577.4253
     e. echapin@sanfordheisler.com
 4
     Brian M. Holm, Esq. (SBN: 255691)
 5   HOLM LAW GROUP, PC
     12636 High Bluff Drive, Suite 400
 6   San Diego, California 92130
     t. 858.707.5858
 7   e. brian@holmlawgroup.com
 8   John J. O’Brien (SBN: 253392)
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 9   750 B Street, Suite 3300
     San Diego, CA 92101
10   t. 619.535.5151
     e. john@theobrienlawfirm.com
11
     Attorneys for Plaintiffs
12

13                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

14                                COUNTY OF SAN DIEGO – CENTRAL DIVISION

15   JANE DOE NOS. 1 - 14, inclusive, individuals;         LEAD CASE:
                                                           Case No.: 37-2016-00019027-CU-FR-CTL
16                  Plaintiffs,                            CONSOLIDATED WITH:
     v.                                                    Case No.: 37-2017-00033321-CU-FR-CTL
17                                                         Case No.: 37-2017-00043712-CU-FR-CTL
     GIRLSDOPORN.COM, a business organization,
18
     form unknown; MICHAEL J. PRATT, an individual;        PLAINTIFFS’ NOTICE OF TAKING THE
19   ANDRE GARCIA, an individual; MATTHEW                  DEPOSITION OF MICHAEL SHAPIRO, CPA
     WOLFE, an individual; BLL MEDIA, INC., a              AND REQUEST FOR PRODUCTION OF
20   California corporation; BLL MEDIA HOLDINGS,           DOCUMENTS
     LLC, a Nevada limited liability company; DOMI
21   PUBLICATIONS, LLC, a Nevada limited liability
     company; EG PUBLICATIONS, INC., a California
                                                           Date:     February 6, 2019
22   corporation; M1M MEDIA, LLC, a California             Time:     10:00 AM
     limited liability company; BUBBLEGUM FILMS,           Location: Veritext San Diego
23                                                                   550 W C Street Suite 800
     INC., a business organization, form unknown; OH
24   WELL MEDIA LIMITED, a business organization,                    San Diego, CA 92101
     form unknown; MERRO MEDIA, INC., a California
25   corporation; MERRO MEDIA HOLDINGS, LLC, a             Assigned for all purposes to:
     Nevada limited liability company; and ROES 1 - 550,   Hon. Joel R. Wohlfeil
26   inclusive,                                            Dept. C-73
27                                                         Complaint Filed: June 2, 2016
                  Defendants.
                                                           Trial: March 8, 2019
28

                                                           1

      PLAINTIFFS’ NOTICE OF TAKING THE DEPOSITION    OF MICHAEL SHAPIRO, CPA AND REQUEST FOR
                                      PRODUCTION OF DOCUMENTS
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that on FEBRUARY 6, 2019, the attorneys of record for Plaintiffs
 3   Jane Doe Nos. 1 - 22 will take the deposition of Michael Shapiro, CPA, before a Certified Shorthand
 4   Reporter and Notary Public, at Veritext San Diego, 550 W C St #800, San Diego, CA 92101. Pursuant
 5   to Code of Civil Procedure Sections 2025.220 and 2025.340, the deponent’s testimony may be recorded
 6   by videotape or audiotape for use at trial. The deposition will continue from day to day until completed,
 7   excluding Sundays and Holidays.
 8          PLEASE TAKE FURTHER NOTICE that pursuant to the provisions of California Code of
 9   Civil Procedure section 2025.220(a)(4), the deponent shall be required to produce at said time and place
10   of his deposition, all requested documents that are listed below and made a part hereof by this reference.
11                                               DEFINITIONS
12        "THE ENTITIES" shall refer to BLL Media, Inc., a California Corporation; BLL Media
13   Holdings, LLC, a Nevada Limited Liability Company; Domi Publications, LLC, a Nevada Limited
14       Liability Company; EG Publications, Inc., a California Corporation; MlM Media, LLC, a
15    California Limited Liability Company; MlM Media, Inc., a Nevada Corporation; Merro Media,
16        Inc., a California Corporation; Merro Media Holdings, LLC, a Nevada Limited Liability
17    Company; UHD Productions, LLC, a Wyoming Limited Liability Company; Domi Productions,
18   LLC, a Nevada Limited Liability Company; the VANUATU ENTITIES (see definition below) and
19                         CLOCKWORK PRODUCTIONS(see definition below).
20

21      "CLOCKWORK PRODUCTIONS" shall mean the corporation incorporated in the State of
22    Nevada on or about November 29, 2006 that has gone by the name Clockwork Productions, LLC
23            and Clockwork Productions, Inc (Nevada Corporate Entity No. E0871582006-l).
24

25   VANUATU ENTITIES" shall mean Bubblegum Films, Inc. established on or about December 11,
26   2006 in the Republic of Vanuatu (Company No. 33336); Oh Well Media Limited, established on or
27   about September 4, 2015 in the Republic of Vanuatu (Company No. 014506); Sidle Media Limited,
28     established on or about September 4, 2015 in the Republic of Vanuatu (Company No. 014505);

                                                         2

      PLAINTIFFS’ NOTICE OF TAKING THE DEPOSITION    OF MICHAEL SHAPIRO, CPA AND REQUEST FOR
                                      PRODUCTION OF DOCUMENTS
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 1   Torque Asset Management Limited, established on or about September 4, 2015 in the Republic of
 2   Vanuatu (Company No. 014504); Green Hills Services, Inc., established on or about November 20,
 3                        2014 in the Republic of Vanuatu (Company No. 013762).
 4   "COMMUNICATIONS" shall mean oral and written communications made or attempted by any
 5   means, including, without limitation, by telephone, e-mail, memorandum, letter, written or voice
 6   message, telegram, telex, facsimile, or in person or in any other instance in which information was
 7   or is transmitted from one PERSON to another through any means whatsoever, together with all
 8        documents on which such communications are recorded, memorialized, summarized, or
 9                                                described.
10                                            INSTRUCTIONS
11    DO NOT produce any tax returns for THE ENTITIES. You are, however, required to produce
12                  Form 1099s that identify revenues and expenses of THE ENTITIES.
13    Please redact the last four digits of any social security numbers, medical information, or website
14                 subscriber information that are contained in the documents produced.
15     If the documents are maintained in electric format, you are required to produce them in their
16                                             electronic form.
17     All documents produced shall be marked "CONFIDENTIAL" so that they are subject to the
18                        protections of the protective order entered in this action.
19                                              REQUESTS
20     REQUEST NO. I: Please produce all DOCUMENTS and COMMUNICATIONS that tend to
21      evidence any revenues, expenses, liabilities or accounts receivable for THE ENTITIES since
22    January 1, 2013. This request shall include, but not be limited to, all profit and loss statements,
23     balance sheets, income statements, revenue statements, account ledgers, general ledgers, and
24                                             expense reports.
25    REQUEST NO. 2: Please provide all source documents within YOUR possession that have been
26     used as support for any reports or ledgers generated for THE ENTITIES. This request shall
27      include all bank statements, and Bitcoin statements, credit/debit card statements, cancelled
28    checks, or any other DOCUMENT from which a report produced in response to Request No. 1

                                                      3

      PLAINTIFFS’ NOTICE OF TAKING THE DEPOSITION    OF MICHAEL SHAPIRO, CPA AND REQUEST FOR
                                      PRODUCTION OF DOCUMENTS
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 1                                            was generated.
 2    REQUEST NO. 3: Please produce the electronic Quickbooks files or other accounting software
 3                  used to keep the books for the ENTITIES since January 1, 2013.
 4     REQUEST NO. 4: Please produce all DOCUMENTS and COMMUNICATIONS tending to
 5         evidence the individuals who control THE ENTITIES, including, but not limited to,
 6    COMMUNICATIONS from the individuals hiring YOUR services for the ENTITIES, and any
 7                        share certificates or stock ledgers for the ENTITIES.
 8     REQUEST NO. 5: Please produce all DOCUMENTS and COMMUNICATIONS tending to
 9    evidence the individuals who own THE ENTITIES, including any COMMUNICATIONS from
10              individuals that YOU believe own or control the VANUATU ENTITIES.
11      REQUEST NO. 6: Please produce all joint venture agreements, partnership agreements, or
12                     licensing agreements to which THE ENTITIES are a party.
13   REQUEST NO. 7: Please produce all DOCUMENTS to or from CCBill, LLC, Epoch.com, LLC,
14      BitPay, Inc., WGCZ Holdings (or similarly named entities that own www.xvideos.com) or
15   Mindgeek USA (or any other similar Mindgeek entity) that identify revenues for THE ENTITIES
16                                       since January 1, 2013.
17

18   RESPECTFULLY SUBMITTED:                               HOLM LAW GROUP, PC
19

20
     Dated: JANUARY 25, 2019          By:
21
                                                           Brian M. Holm, Esq.
22                                                         Attorney for Plaintiffs

23

24

25

26

27

28

                                                    4

      PLAINTIFFS’ NOTICE OF TAKING THE DEPOSITION    OF MICHAEL SHAPIRO, CPA AND REQUEST FOR
                                      PRODUCTION OF DOCUMENTS
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    From:              Brian Holm
    To:                Aaron Sadock
    Cc:                Ed Chapin; John J. O"Brien; Cara Van Dorn; Carrie Goldberg; Christopher Yandel; Fernando Salazar; Daniel A.
                       Kaplan; Ali Byler; Bonnie McKnight; George Rikos; Anna King; Julianne Roth
    Subject:           Re: Bankruptcy Petition #: 19-00271-LT13
    Date:              Monday, January 28, 2019 8:57:12 AM


   Thanks for the threats.

   However, as laid out in my previous email, the stay caused by Mr. Pratt’s bankruptcy filing
   only affects plaintiffs’ claims against Mr. Pratt. There are still over a dozen defendants in our
   case that are unaffected by Mr. Pratt’s bankruptcy filing. Indeed, our trial court, after being
   made aware of Pratt’s bankruptcy filing, did not vacate the March 8th trial date. We are
   proceeding with discovery, which is necessary for our claims against the other defendants, in
   order to be ready for the March trial date.

   Your firm, and Mr. Kaplan’s firm, also represent many other defendants in this case. I would
   expect you to appear at these depositions to protect their rights. If you are not appearing
   because you erroneously assume Mr. Pratt’s bankruptcy also stays the case against them, that
   is something you can work out with your clients and your carrier.

   Brian

   Sent from my iPhone

   On Jan 28, 2019, at 9:38 AM, Aaron Sadock <asadock@panakoslaw.com> wrote:


            Counsel,

            As you know, we represent the Debtor, Michael J. Pratt, in the above-referenced
            Chapter 13 case. This case was commenced by the filing of a Voluntary Petition
            for relief under Title 11 of the United States Code on January 23, 2019, and an
            Order for Relief was entered at that time. The Notice of Automatic Stay
            explains actions which are prohibited by the automatic stay of 11 U.S.C. §362.
            Pursuant to this notice, we demand that you immediately cease all efforts to
            prosecute any court action against the Debtor. This includes any acts to obtain
            discovery from the Debtor and any agents of the Debtor and to proceed in any
            fashion in the prosecution of San Diego Superior Court Lead Case No. 37-2016-
            00019027-CU-FR-CTL, and Consolidated Case Nos. 37-2017-00033321-CU-FR-
            CTL and 37-2017-00043712-CU-FR-CTL. to the extent those acts affect the
            Debtor, or to enforce any judgment obtained against the Debtor.

            Be advised that the Bankruptcy Court has the power to award compensatory as
            well as punitive damages for willful violations of the automatic stay of 11
            U.S.C. §362. See, In re Bloom, 875 F.2d 224 (9th Cir. 1989). Please note that
            such acts will be considered willful if you merely intended to perform to act. If
            the act violates the stay, the fact that you did not intend to violate the stay is not a
            defense.

            If you or any of your agents take any acts in violation of the automatic stay,


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        the Debtor will file a motion in the Bankruptcy Court for compensatory
        and punitive damages for willful violation of the automatic stay.


        Sincerely,

        Aaron D. Sadock, Esq.
        Managing Attorney



        <PanakosLaw_LogoEmail.jpg>



        www.Panakos.law
        555 West Beech Street
        Suite 500
        San Diego, CA 92101
        O: (619) 800 - 0529
        D: (619) 312 - 4125
        Confidentiality & Legal Notice




        <19-0128_autostay.pdf>




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                                 AUDREY PINA rough draft

                                                                             1



           1   *DISCLAIMER*

           2

           3         This unedited rough draft of the proceedings is not

           4   certified.     The rough draft transcript may not be cited or

           5   used in any way or at any time to rebut or contradict the

           6   certified transcription of the proceedings.      There will be

           7   discrepancies in this form and the final form because this

           8   file has not been edited, proofread, corrected, finalized,

           9   indexed, bound or certified.       There will also be a

          10   discrepancy in page numbers appearing on the unedited

          11   rough draft and the edited, proofread, corrected and

          12   certified final.     This transcription includes the court

          13   reporter's uncorrected steno translation and it may

          14   contain untranslated stenotype symbols, computer-generated

          15   mistranslations or electronic transmission errors

          16   resulting in inaccurate or nonsensical word combinations.

          17   This rough draft transcript contains no title, appearance,

          18   index or certificate pages.     This service is provided to

          19   you with the understanding that you will not disclose this

          20   unedited rough draft transcript in any form (written or

          21   electronic) to anyone who has no connection to this case

          22   and that any and all copies will be destroyed upon receipt
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                                 AUDREY PINA rough draft

          23   of the certified transcript.

          24   Patricia Gerson, RMR, is not responsible for the misuse of

          25   this rough draft transcript by anyone.

                                                                                 2



           1               THE VIDEOGRAPHER:     I am Bobby Soltero, the court

           2   reporter is Pat Gerson, we are with Veritext.

           3               This is the beginning of videotaped deposition of

           4   Audrey Pina, in the case of Jane Does numbers 1 through 22

           5   et al., versus Girlsdoporn.com, et al., case number

           6   37-2016-00019027-CU-FR-CTL.

           7               Today's date is January 28, 2019.     Time now is

           8   1:19 p.m.

           9               Counsel, please introduce yourself and the court

          10   reporter will swear in the witness.

          11               MR. HOLM:     Brian Holm, on behalf of the

          12   plaintiffs.

          13                                AUDREY PINA,

          14                           having been duly sworn,

          15                 was examined and testified as follows:

          16

          17   BY MR. HOLM:

          18       Q.      Have you ever had your deposition taken before?

          19       A.      No.
                                            Page 2



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                                 AUDREY PINA rough draft

          20       Q.   Okay.     To cover some ground rules, make it fairly

          21   simple, question and answer session, let me get my full

          22   question out before you respond.       In everyday conversation

          23   we always cut the other person off because we know where

          24   they're going, because we want to move it along.

          25            But make sure the question is finished and we'll

                                                                               3



           1   try not to talk over each other.       I'm going to let you

           2   finish when it's time for you to answer.

           3            Because the court reporter here is taking down

           4   everything that we say, and if we talk over each other it

           5   makes it almost impossible for her to write everything

           6   down?

           7       A.   Okay.

           8       Q.   In addition, you just nodded.      That doesn't show

           9   up on paper.     So we need to say yes and no.   And I'll try

          10   to remind you if it happens.       But it's something we need

          11   for the record.

          12       A.   (Nods head.)

          13       Q.   Is there any reason that you believe you can't

          14   give your best testimony today, you're on any medication,

          15   did not sleep at all last night?

          16       A.   There's no reason.
                                         Page 3



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                                AUDREY PINA rough draft

          17       Q.   Okay.   I'm entitled to what you have personal

          18   knowledge of, things in your five senses.     Everything

          19   you've seen, everything you've heard, thought about, you

          20   know, touched, smelled -- everything that you know that's

          21   in your kind of knowledge, what you've been told.

          22       A.   Okay.

          23       Q.   In addition, I'm entitled, if you heard people

          24   talk about something or were given some information

          25   regarding a subject from another person, even if you

                                                                               4



           1   weren't at that event, if someone said, well, I saw this

           2   happen on that date, I also want to know about that.

           3            So we're here in the case of girlsdoporn.com.

           4            Are you familiar with that website?

           5       A.   Yes.

           6       Q.   How did you become familiar with the website?

           7       A.   Well, I didn't know it was a website until I was

           8   on it.

           9       Q.   Okay.   Who are the people that you're aware of

          10   that are affiliated with that website?

          11       A.   I know there's an Andre, someone named Johnathan,

          12   the cameraman's name was Teddy.      I don't know the name of

          13   the driver.
                                        Page 4



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                                  AUDREY PINA rough draft

                                                                             49



           1       Q.      Did you tell Johnathan the first time you had

           2   reached out, after you had learned about your video, how

           3   easy it was to find the content online?

           4       A.      Yes.

           5       Q.      Did you tell him at that time that you believed

           6   they had been lying to you?

           7       A.      Yes.

           8               MR. HOLM:   That's all I have.

           9               We can go off the record.

          10               THE VIDEOGRAPHER:   That concludes the deposition,

          11   the time is 2:17.

          12   *DISCLAIMER*

          13

          14            This unedited rough draft of the proceedings is not

          15   certified.     The rough draft transcript may not be cited or

          16   used in any way or at any time to rebut or contradict the

          17   certified transcription of the proceedings.     There will be

          18   discrepancies in this form and the final form because this

          19   file has not been edited, proofread, corrected, finalized,

          20   indexed, bound or certified.      There will also be a

          21   discrepancy in page numbers appearing on the unedited

          22   rough draft and the edited, proofread, corrected and
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                              AUDREY PINA rough draft

          23   certified final.   This transcription includes the court

          24   reporter's uncorrected steno translation and it may

          25   contain untranslated stenotype symbols, computer-generated

                                                                            50



           1   mistranslations or electronic transmission errors

           2   resulting in inaccurate or nonsensical word combinations.

           3   This rough draft transcript contains no title, appearance,

           4   index or certificate pages.    This service is provided to

           5   you with the understanding that you will not disclose this

           6   unedited rough draft transcript in any form (written or

           7   electronic) to anyone who has no connection to this case

           8   and that any and all copies will be destroyed upon receipt

           9   of the certified transcript.

          10   Patricia Gerson, RMR, is not responsible for the misuse of

          11   this rough draft transcript by anyone.

          12

          13

          14

          15

          16

          17

          18

          19
                                       Page 56



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                              012919 KW ROUGH DRAFT

                                                                           1




           1                          ROUGH DRAFT

           2
                               KAILYN WRIGHT, 01/29/2019
           3

           4                           DISCLAIMER

           5          Provision of the attached ASCII text is subject to
               the following agreement and understanding of all parties:
           6          (A) This text contains an ASCII-formatted version
               of the uncorrected and uncertified transcript of the
           7   video deposition of KAILYN WRIGHT, taken on 01/29/2019.
                      There will be discrepancies between the
           8   contents of this text and the final certified transcript,
               including, but not limited to, page and line number
           9   discrepancies, the appearance in this document of
               mistranslated and/or untranslated words and/or names
          10   and/or numbers, and any and all other variants with the
               final certified transcript as from time to time may occur
          11   in the normal course of verbatim stenography.
                      (B)(i) This text is provided as a temporary aid
          12   only, and its contents may not be cited or
               distributed in any form whatsoever;
          13          (ii) The document herein is not certified and
               will under no circumstances constitute an official
          14   transcript;
                      (iii) In any and all discrepancies between
          15   the contents of the text and the final certified
               transcript, the latter shall, without exception and in
          16   every instance, prevail.
                      (C) The certified reporter makes no warranty
          17   as to the accuracy or reliability of the contents of this
               text and will not be held liable, accountable, or
          18   responsible for any variant between the document herein
               contained and the final certified transcript.
          19          (D) This text is provided on the
               understanding that the final certified transcript will
          20   follow in due course.

          21   PRINTING AND/OR USING THE CONTENTS OF THIS
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                              012919 KW ROUGH DRAFT
               TEXT CONSTITUTE ACCEPTANCE OF THESE TERMS AND CONDITIONS
          22

          23

          24

          25

                                                                               1




           1                 THE VIDEOGRAPHER:     We are now on the record.

           2   The time is approximately 2:33 p.m. on January 289, 2019.

           3   It's the videotaped deposition of Kailyn Wright in the

           4   matter of Jane Doe versus GirlsDoPorn filed in the

           5   Superior Court of the county of San Diego.     Our location

           6   is 1555 East Orangewood Avenue, Phoenix, Arizona 85020.

           7   My name is Tom Tracy with the firm of Veritext.     The

           8   court reporter is Amy Zoller also of Veritext.

           9                 Counsel, will you please identify whom you

          10   represent for the record.

          11                 MR. HOLM:     Brian Holm, on behalf of the

          12   plaintiffs.

          13                 THE VIDEOGRAPHER:     Would the court reporter

          14   please swear in the witness.

          15

          16                             KAILYN WRIGHT,

          17   called as a witness herein, having been first duly sworn,
                                         Page 2



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          18   was examined and testified as follows:

          19

          20                              EXAMINATION

          21   BY MR. HOLM:

          22       Q.      Good afternoon.    My name is Brian Holm.     I

          23   represent the plaintiffs in this action.        Can you say

          24   your name and spell it for the record?

          25       A.      Kailyn Wright, K-A-I-L-Y-N W-R-I-G-H-T.

                                                                                    2




           1       Q.      Have you ever had your deposition taken before?

           2       A.      Huh-uh.

           3       Q.      It's question/answer format.       I'll ask you a

           4   question.    Wait until I finish because of legal reasons.

           5   Sometimes I got to add on all sorts of things, like the

           6   date, time, and you kind of want to jump in.         Try not to

           7   do that.    Otherwise her job will be nearly impossible as

           8   we talk over each other.      If I ask a question and you

           9   don't understand it, let me know.

          10       A.      Okay.

          11       Q.      And I'll try and clarify.       Say, can you clear

          12   that up; I don't understand this, whatever it may be.            I

          13   don't want to try to trick you.        I don't want to you try
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          14   to guess at anything.       Make sure that you understand what

          15   I'm asking for.    If you don't recall specific dates, I'd

          16   ask that you try to estimate based on either points of

          17   reference that you recall.       Everybody remembers, you

          18   know, I may have been at my birthday and remember hearing

          19   this, so I knew it was around whatever your birthday was;

          20   or I started school, it was the beginning of second

          21   semester, those types of time frames I want to try to get

          22   even if you don't recall the exact date.        At the end of

          23   this, the court reporter is going to create a transcript

          24   and allow you to make any changes.        Sometimes, for

          25   example, we say uh-huh and huh-uh that don't translate

                                                                                 3




           1   well.    Make sure we try to use yes and nos today.        And

           2   then you make any changes to that to make sure that your

           3   testimony is final.       And I don't want -- you're kind of

           4   thinking on your feet here.         But that will at least give

           5   you time to sit down with it.

           6               What's your current address?

           7       A.

           8       Q.      How long have you resided there?

           9       A.      Since 2009.     2008, 2009.
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